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         その後、当職は、上記の認めなかった金額のうち、19名34,884,662円につき異議を
       撤回し、認めるに至っている。


         さらに、現在までに査定申立てが137件（査定申立額2,220,868,159円（元本のみ））
       なされている（但し、不適法なものを含む。）
                           。
         当職は、これらの査定申立書類を検討中であり、適宜答弁書を提出する方向で考え
       ている。


     ２   取引所関係破産債権以外の債権届出の状況
         取引所関係破産債権以外の債権を届け出た債権者に対しては、平成 27 年 9 月 9 日の
       債権調査期日において認否をしているが、うち 2 名から破産債権査定の申立てがあり、
       現在査定手続中である。


   第３    BTC 消失経緯等調査
         当職は、破産者における BTC 及び法定通貨の消失の有無・経緯等に関し、有限責任
       監査法人トーマツ（関連法人を含む。）、及び税理士法人レクス会計事務所に委嘱し、
       かつ支援企業である Payward グループの協力も得ながら、調査を進めている。
         また、カルプレス・マルク・マリ・ロベートは、後述のとおり、逮捕起訴されたが、
       当職は、警視庁などの捜査機関の捜査協力要請に対し、可能な協力を行ってきており、
       今後とも協力を行っていく方針である。なお、かかる警察捜査との関係でも、捜査又
       は調査に関する情報については、慎重に取り扱う必要が生じている。
         存在する情報が限られていること等の事情もあり、全容の把握は難しいと考えてい
       るものの、今後も、可能な限りで、調査を続行する予定である。なお、上記調査の結
       果については、プライバシーの問題等について配慮した上で、適切な時期、方法及び
       内容にて公表することを予定している。


   第４    関連会社
         破産者には、複数の関連会社（親会社等）が存し、以下の会社等に対する貸付金等
       を有するため、その回収に努めている。
     １   (株)TIBANNE
         当職は、平成27年5月15日、破産者の親会社である(株)TIBANNE の破産手続（東京地
       方裁判所平成27年(ﾌ)第585号）において、破産債権の届出（届出破産債権額合計
       25,841,657,102円。なお、平成27年11月19日に306,362,100円を取り下げている。）を
       したが、破産管財人粟田口太郎弁護士より異議を述べられたため、平成27年10月13日、
       破産債権査定の申立てを行った。現在、(株)TIBANNE の破産手続において査定手続中で
       ある。




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     ２   (株)Bitcoin. Café
         当職が（株）Bitcoin. Café の破産手続（東京地方裁判所平成26年(ﾌ)第5603号）に
       おいて行った破産債権の届出（届出金額60,710,136円）について（株）Bitcoin. Café
       の債権者である東急建設株式会社が述べた異議に関し、東京高等裁判所において、同
       社を控訴人、当職を被控訴人とする破産債権査定異議請求控訴事件（東京高等裁判所
       平成28年（ﾈ）第1479号）が係属していたところ、平成28年7月13日、控訴を棄却する
       旨の控訴審判決がなされ、当職による上記届出を認めることを内容とする第一審判決
       が維持された。但し、東急建設株式会社は、同月26日、上記控訴審判決を不服として、
       上告及び上告受理申立てを行っている。


     ３   カルプレス・マルク・マリ・ロベート
         当職は、平成27年10月23日、御庁に対し、破産者の代表取締役であるカルプレス・
       マルク・マリ・ロベートの破産手続開始の申立てを行った。その結果、同年11月10日、
       同人について破産手続開始決定がなされ、破産管財人に坂口昌子弁護士が選任された。
         また、カルプレス・マルク・マリ・ロベートは、平成27年9月11日に私電磁的記録不
       正作出・同供用罪及び業務上横領罪の容疑で起訴され、さらに同年11月18日に同じく
       私電磁的記録不正作出・同供用罪及び業務上横領罪の容疑で追起訴されている。なお、
       同人は、平成28年7月14日に保釈された。


   第５    破産法第 177 条第 1 項の規定による保全処分又は第 178 条第 1 項に規定する役
       員責任査定決定を必要とする事情の有無
         破産法第 177 条第 1 項の規定による保全処分又は第 178 条第 1 項に規定する役員責
       任査定決定を必要とする事情の有無については、上記第 3 の調査と並行し引き続き調
       査をしている。


   第６    破産手続進行に関する事項
     １   配当の見込み等
         全ての破産債権につき認否を終えたため、今後、可能な限り早期に配当手続に進み
       たいと考えている。しかし、その具体的日程については、当職の認否に対する各債権
       者の応答等によって影響を受けざるを得ない。したがって、現時点では、配当見込み、
       配当時期、及び配当方法等は未定である。
         なお、破産配当が可能となる場合に BTC を配布する方法を用いるか否かについては、
       引き続き検討中である。


     ２   その他必要な情報のウェブサイトでの提供
         本件では、極めて多数の債権者が各国に存するため、本件に関し債権者に必要な情
       報等は、できる限り、当職の管理するウェブサイト（https://www.mtgox.com/）に随


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       時公表する予定である。
                                                                     以     上




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平成２６年（フ）第３８３０号
破産者 株式会社ＭＴＧＯＸ
破産管財人 弁護士 小林 信明
                                                        財         産            目           録
                                                                                                                       （開始決定日：平成26年4月24日現在）
資産の部                                                                                                                                 （単位：円）
番号 科目                                                       簿 価              評価額（財団組入額）                                備考
 1     現金及び預金                                                   1,336,251               1,359,603
         現金                                                             0                      0
         みずほ銀行 渋谷支店 普通預金 No.1457705                               120,000                152,602 解約入金済み。
         みずほ銀行 渋谷支店 普通預金 No.1497669                                     0                     47 解約入金済み。
         みずほ銀行 渋谷支店 外貨普通預金 No.9110151                                   0                      4 通貨：USD、解約入金済み。
         みずほ銀行 渋谷支店 外貨普通預金 No.9110186                                   0                      5 通貨：GBP、解約入金済み。
         みずほ銀行 渋谷支店 外貨普通預金 No.9110216                                   0                     97 通貨：AUD、解約入金済み。
         みずほ銀行 渋谷支店 外貨普通預金 No.9110267                                   0                      4 通貨：NZD、解約入金済み。
         みずほ銀行 渋谷支店 外貨普通預金 No.9110232                                  91                     87 通貨：DKK、解約入金済み。
         みずほ銀行 渋谷支店 外貨普通預金 No.9110275                                  28                     26 通貨：HKD、解約入金済み。
         みずほ銀行 渋谷支店 外貨普通預金 No.9110283                                  25                     25 通貨：SGD、解約入金済み。
         みずほ銀行 渋谷支店 外貨普通預金 No.9110259                                  89                     87 通貨：CHF、解約入金済み。
         ゆうちょ銀行 渋谷支店 総合口座 No.10170-48410711                           945                    945 解約入金済み。
         楽天銀行 第二営業支店 普通預金 No.7018261                              279,457                279,213 解約入金済み。
         ジャパンネット銀行 すずめ支店 普通預金 No.2559084                          596,168                596,168 解約入金済み。
         八千代銀行 渋谷支店 普通預金 No.0623839                                     7                      7 解約入金済み。
         八千代銀行 渋谷支店 外貨普通預金 No.0623949                              95,357                 93,468 通貨：AUD、解約入金済み。
         八千代銀行 渋谷支店 外貨普通預金 No.0623950                             141,608                136,041 通貨：EUR、解約入金済み。
         八千代銀行 渋谷支店 外貨普通預金 No.0623938                             102,476                100,677 通貨：USD、解約入金済み。
         りそな銀行 渋谷支店 普通預金 No.2973992                                     0                    100 解約入金済み。
 2     短期貸付金                                                 1,307,423,210            46,686,362 評価は平成28年9月27日までの換価実績による。
         ㈱TIBANNE                                             772,791,001                      0 破産者の関係会社、平成27年1月30日破産手続開始決定。破産債権届出済み。
         ㈱Shade3D                                             338,139,321             46,686,362 破産者の関係会社。平成27年9月29日、債権譲渡契約に基づき回収。
         ㈱Bitcoin cafe                                         60,000,000                      0 破産者の関係会社、平成26年6月18日破産手続開始決定。破産債権届出済み。
         カルプレス・マルク・マリ・ロベート                                    136,175,781                      0 破産者の代表者。平成27年11月10日破産手続開始決定。
         MTGOX HongKong                                           317,107                      0 破産者の関係会社。弁済請求中。
 3     未収入金                                                       925,826                331,600 評価は平成28年9月27日までの換価実績による。
         ㈱TIBANNE                                                 562,026                      0 破産者の親会社、貸付金の未収利息。
         渋谷税務署（法人税中間納付）                                           242,200                243,900 平成26年7月24日還付金入金済み。
         渋谷都税事務所（事業税及び地方法人特別税中間納付）                                 80,800                 80,800 平成26年7月29日還付金入金済み。
         渋谷都税事務所（住民税法人税割中間納付）                                      40,800                  6,900 均等割りと相殺の上、平成26年7月29日還付金入金済み。
 4     仮払金（東京地方裁判所）                                             2,000,000               2,000,000 平成26年6月4日回収。
 5     預け金                                                    783,948,565            862,720,420 評価は平成28年9月27日までの換価実績による。
         申立代理人                                                241,459,630            231,557,866 平成26年5月12日に評価額にて引継ぎ済み。
         申立代理人                                                509,510,685            500,698,397 平成26年5月9日に評価額にて引継ぎ済み。
         申立代理人                                                 32,978,250             32,977,386 平成26年5月8日に評価額にて引継ぎ済み。
         その他                                                            0             97,486,771 平成27年1月7日回収。
 6     他社預け金                                                 1,693,444,088           706,433,012 評価は平成28年9月27日までの換価実績による。
         CoinLab                                              500,000,000                      0 訴訟継続中。
         その他                                                 1,193,444,088           706,433,012 一部回収。残額については回収作業中または検討中。
 7     工具器具備品                                                 104,557,699             32,582,300 評価は平成28年9月27日までの換価実績による。
         DELL サーバー                                              5,649,000
         Violin Server                                         90,623,142             32,382,300 平成26年11月27日売却、入金済み。
         Apple Japan      ノートパソコン28台                            5,383,438
         Chair                                                  2,902,119                200,000 平成27年6月8日売却、入金済み。
 8     敷金                                                         700,000                      0 評価は平成28年9月27日までの換価実績による。
         ディ・エグゼクティブ・センター・ジャパン株式会社                                 540,000                      0 解約済み。回収不能。
         ディ・エグゼクティブ・センター・ジャパン株式会社（駐車場敷金）                          160,000                      0 解約済み。回収不能。
 9     差入保証金                                                   10,586,875             10,587,933 破産者が供託した仮差押解放金払渡金。回収済み。
 10    開発費                                                     85,875,146                      0 評価は平成28年9月27日までの換価実績による。
         Applico Inc.                                          33,453,375                      0 資産性なし
         Internet Escrow Services                               3,073,459                      0 資産性なし
         Mandalah KK                                           31,993,500                      0 資産性なし
         The Phuse Inc.                                         4,572,513                      0 資産性なし
         Winsoft Technology Solutions Inc.                     12,782,299                      0 資産性なし
 11    受取利息                                                             0                356,617 預金利息
 12    破産申立予納金                                                          0             18,063,297
       破産申立予納金（カルプレス・マルク・マリ・ロベート）                                       0               3,026,000 破産申立予納金戻り（郵券等戻り含む）
       破産申立予納金（㈱TIBANNE）                                                 0             15,037,297 破産申立予納金戻り（郵券等戻り含む）
                                               資産合計          3,990,797,660          1,681,121,144


負債の部
番号 科目                                                       帳簿価額                 届出金額                                  備考
 1     財団債権・優先的破産債権（公租公課）                                      54,374,152         額未定
       財団債権（その他経費）                                             19,253,642         額未定
 2     一般破産債権（取引所関係破産債権）                                     8,256,092,214    263,519,268,303,371
       一般破産債権（取引先等）                                           402,470,293          13,119,083,453
                                                 負債合計        8,732,190,301        額未定

※1    「簿価」は、原則として、平成26年４月24日現在の破産者の帳簿価額を記載しており、当該金額が実際の換価額と一致するものではない。
※2    「評価額（財団組入額）」は、原則として、平成28年9月27日現在実際に回収された金額を記載している。
※3    破産者が保有するBitcoinは、上記資産には含まれていない。なお、平成28年9月21日時点において破産財団で管理するBitcoinは、202,185.35450043 BTCとなっている。
※4    本目録の記載は、現時点での調査結果に基づく内容であり、今後の調査により本目録に記載のない資産又は負債が判明する可能性がある。
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                                収      支       計        算   書
                                    自 平成２６年        ４月 ２４日
                                    至 平成２８年        ９月 ２７日
平成２６年（フ）第３８３０号
破産者 株式会社ＭＴＧＯＸ
破産管財人 弁護士 小林 信明
                                                                                       （単位：円）

                収   入   の   部                                       支   出   の   部


番号              摘   要                金額            番号               摘   要             金額


 1    引継現預金                         766,593,252    1    事務費                           30,191,242


 2    引継予納金                            2,000,000   2    破産開始決定通知書送付費用                   6,890,292


 3    供託金回収                          10,587,933    3    消耗品費                            8,840,785


 4    受取利息                              356,617    4    専門家報酬                        275,530,917


 5    税金還付                              331,600    5    業務委託報酬                       125,418,228


 6    他社預け金の回収                      706,433,012    6    和解金（通信関連契約解約費用）                 6,310,433

      破産手続の支援等に関する契約に
 7                                   32,382,300    7    旅費交通費                            298,930
      基づくＰaywardの支援金

 8    預け金の回収                         97,486,771    8    管財人室家賃・敷金                       5,260,540

                                                        公租公課（管財人報酬の源泉所得
 9    備品売却収入                            200,000    9                                  29,010,413
                                                        税等）

 10   ㈱Shade3Dに対する貸付金譲渡代金            46,686,362    10   コールセンター費用                       6,335,718

      カルプレス・マルク・マリ・ロベート破
 11                                    3,026,000   11   TIBANNE破産申立予納金                15,000,000
      産申立予納金戻り（郵券等戻り含む）
      TIBANNE破産申立予納金戻り（郵券
 12                                  15,037,297    12   管財人報酬                        114,550,633
      等戻り含む）
                                                        カルプレス・マルク・マリ・ロベート破
                                                   13                                   3,000,000
                                                        産申立予納金

        合   計                      1,681,121,144            合   計                    626,638,131




                                                                    差引残金            1,054,483,013
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平成２６年（フ）第３８３０号
破産者 株式会社ＭＴＧＯＸ
破産管財人 弁護士 小林 信明
（破産手続開始の決定日：平成26年 4月24日現在）

                                                  【破産】貸借対照表
                                                                                               （単位：円）

              科目                        評価額（財団組入額）※1               科目                     届出額


現    金       及       び   預       金             1,359,603   財団債権及び優先的破産債権 ※ 3                    73,627,794


短     期          貸       付       金           46,686,362    一   般   破       産   債   権   263,532,387,386,824


未         収          入           金              331,600


仮                払               金             2,000,000


預                け               金          862,720,420


他        社       預       け       金          706,433,012


工    具       器       具   備       品           32,582,300


敷                                金                     0


差     入          保       証       金           10,587,933


開                発               費                     0


受         取          利           息              356,617


破    産    申      立   予       納   金           18,063,297


資                産               計 ※2      1,681,121,144   負           債           計   263,532,461,014,618


※1 「評価額（財団組入額）」は、平成28年9月27日現在実際に回収された金額を記載している。
※2 破産者が保有するBitcoinは、上記資産には含まれていない。なお、平成28年9月21日時点において破産財団で管理する
   Bitcoinは、202,185.35450043 BTCとなっている。
※3 財団債権及び優先的破産債権については、交付要求未了のため、破産手続開始決定時の破産者の帳簿に基づく金額である。
※4 本貸借対照表の記載は、現時点での調査結果に基づく内容であり、今後の調査により本貸借対照表に記載のない資産
   又は負債が判明する可能性がある。
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                                               [Translation]


   Tokyo District Court 2014 (fu) No. 3830
   Bankrupt Entity: MtGox Co., Ltd.

                                                 Report

                                                                              September 28, 2016


   To: Tokyo District Court, Collegiate Section of 20th Civil Division


                                                            Bankrupt Entity: MtGox Co., Ltd.
                                     Bankruptcy Trustee: Nobuaki Kobayashi, Attorney-at-law



   I.        Past Events and Present Situation Concerning Bankruptcy Estate


        1.     Present Situation of Bankruptcy Estate

             The status of the bankruptcy estate, based on the investigation conducted up to the
             time of preparation of this Report, is as shown in the List of Assets and the Balance
             Sheet, and the balance in the account that I have secured as of September 27, 2016
             is JPY 1,054,483,013, i.e., a decrease of approximately JPY 10,200,000 from the
             time of the 6th creditors’ meeting.
             However, since the investigation of the status of the holdings of BTC is still on-going,
             such List of Assets and Balance Sheet do not contain BTC held by the bankrupt
             entity.

        2.     Status of Management of BTC

             The amount of BTC managed by the bankruptcy estate as of September 21, 2016 is
             202,185.35450043BTC. Currently, I am still investigating the existence of
             additional BTC held by the bankrupt entity, and it is planned that, as soon as such
             BTC are found, I will move them to the address which I manage, and I will keep
             such BTC there.




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   II.   Status of Investigation of Bankruptcy Claims


     1. Status of Filing of Bankruptcy Claims and Acceptance or Rejection of
     Claims

         On May 25, 2016, the date of the investigation of claims, I completed the task of
         accepting or rejecting each of the claims against the Bankrupt Entity seeking a
         refund of BTC or money that was filed by users of the Bankrupt Entity’s Bitcoin
         exchange (such users, the “Users”; and such claims, the “Bankruptcy Claims
         Related to Exchange”).
         A summary of the status of filings of bankruptcy claims and the acceptance or
         rejection of claims as of May 25, 2016, is shown below.

                                  Number       Total amount of       Total amount of    Total amount of claims
                                  of persons   claims filed *1       claims that have   that have been
                                  who filed                          been accepted      rejected *1
                                  claims                             *1
    Creditors who filed a claim   24,750       JPY                   JPY                JPY
    only with respect to the      persons      263,519,268,303,371   45,609,593,503     263,473,658,709,868
    Bankruptcy Claims Related
    to Exchange
         *1 All amounts have been converted into JPY.


         Thereafter, out of the claims that I had rejected, I have retracted my objection
         against claims by 19 creditors, the total amount of which is 34,884,662 yen, and
         accepted them.


         In addition, to date, 137 petitions for assessment, the total amount of which is
         2,220,868,159 yen (principal amount), have been filed; please note, however, that
         these figures include petitions that were improperly filed.
         I am currently reviewing the documents filed in connection with these petitions,
         and planning to submit my written answers in due course.


     2. Status of Filings of Claims Other than the Bankruptcy Claims Related to
     Exchange

         With respect to creditors who filed claims other than Bankruptcy Claims Related to
         Exchange, these claims have been accepted or rejected at the investigation of claims
         that was held on September 9, 2015; however, there was a petition for a bankruptcy


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          claim assessment from two of the creditors, and the assessment is currently under
          way.


   III.    Investigation of Disappearance of BTC, etc.

          I am conducting investigations into whether any BTC or money in other currencies
          that were possessed by or under the control of the bankrupt entity have disappeared,
          and if they have, the events leading to such disappearance by delegating such work
          to Deloitte Touche Tohmatsu LLC (and its affiliates) and ReEx Accounting Firm, as
          well as by obtaining the assistance of our supporting company, Payward.
          Additionally, while Robert Marie Mark Karpeles was arrested and prosecuted as
          stated below, following a request made by investigation agencies such as the
          Metropolitan Police Department to cooperate with their investigation, I have been
          providing and will continue to provide them with cooperation as much as possible.
          In connection with such police investigation, the careful treatment of information
          relating to the investigation is now needed.
          Due to the circumstances, such as the limited amount of information that exists, I
          believe it will be difficult to understand the full picture; however, I am planning to
          continue these investigations, as much as possible. We are planning to disclose
          the results of the aforesaid investigation at the appropriate time, in the appropriate
          manner and with the appropriate content, taking into account concerns as to privacy,
          etc.


   IV.     Affiliated Companies

          The bankrupt entity has several affiliated companies (parent company, etc.), and has
          claims based on loan receivables, etc. against the following companies, etc.
          Therefore, I am making efforts to collect such loan receivables.


     1. TIBANNE Co., Ltd.

          On May 15, 2015, in the bankruptcy proceedings against TIBANNE Co., Ltd.,
          which is the parent company of the bankrupt entity (Tokyo District Court 2015 (fu)
          No. 585), I filed a bankruptcy claim (the total amount of the bankruptcy claim that
          was filed is JPY 25,841,657,102; however, I have withdrawn a portion of that claim
          in the amount of JPY 306,362,100 on November 19, 2015). Mr. Taro Awataguchi,


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             who is the bankruptcy trustee of TIBANNE, made an objection to the claim;
             therefore, I filed a motion seeking an assessment of the bankruptcy claim on
             October 13, 2015. The assessment is currently being processed under the
             bankruptcy proceeding of TIBANNE, Co., Ltd.


        2.     K.K. Bitcoin. Café

             With regard to the objection raised by TOKYU CONSTRUCTION CO., LTD., a
             creditor of K.K. Bitcoin. Café, against my filing of a bankruptcy claim (the amount
             of the bankruptcy claim is JPY 60,710,136) in the bankruptcy proceeding against
             K.K. Bitcoin. Café (Tokyo District Court 2014 (fu) No. 5603), the hearing in the
             appeal case regarding the objection to the bankruptcy claim assessment (Tokyo
             High Court 2016 (ne) No. 1479) was held before the Tokyo High Court, where
             TOKYU CONSTRUCTION CO., LTD. was the appellant and I was the appellee.
             The decision of the Tokyo High Court, which was entered on July 13, 2016,
             generally held that the appeal was to be dismissed, and therefore, the decision by
             the court of first instance approving the aforesaid bankruptcy claim that I had filed
             was upheld. However, TOKYU CONSTRUCTION CO., LTD. was not satisfied
             with the aforesaid decision entered by the Tokyo High Court, and filed a final
             appeal as well as a petition for acceptance of final appeal on July 26, 2016.


        3.     Robert Marie Mark Karpeles

             I filed a petition for the commencement of bankruptcy proceeding regarding Robert
             Marie Mark Karpeles, who is the representative director of the bankrupt entity, with
             the court on October 23, 2015. As a result, the commencement of the bankruptcy
             proceeding against Mr. Karpeles was determined on November 10, 2015, and Ms.
             Masako Sakaguchi was appointed as the bankruptcy trustee.
             Robert Marie Mark Karpeles was prosecuted on September 11, 2015 on the charges
             of unauthorized creation and use of private electromagnetic records and suspicion
             of corporate embezzlement. Furthermore, he was subsequently prosecuted on
             November 18, 2015 on the same charges of unauthorized creation and use of
             private electromagnetic records and suspicion of corporate embezzlement. He was
             released on bail on July 14, 2016.


   V.        Existence of Circumstances Requiring a Temporary Restraining Order, as


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      Stipulated in Article 177, Paragraph 1 of the Bankruptcy Act, and Officer’s
      Liability Assessment Order, as Stipulated in Article 178, Paragraph 1 of the
      Bankruptcy Act

          With respect to the existence of circumstances requiring a temporary restraining
          order, as stipulated in Article 177, Paragraph 1 of the Bankruptcy Act, and officer’s
          liability assessment order, as stipulated in Article 178, Paragraph 1 of the
          Bankruptcy Act, an investigation is still required to take place concurrently with the
          investigation stated in section III above.


   VI.     Matters regarding Progress of Bankruptcy Proceedings


     1.     Probability of Distribution, etc.

          Now that all bankruptcy claims have been accepted or rejected, henceforth, I wish
          to proceed to the distribution process as soon as possible. However, the detailed
          schedule thereof will inevitably be affected by each creditor’s response to the
          acceptance or rejection of his or her claim, etc. Therefore, at present, the
          possibility of carrying out a distribution and the timing and method thereof, etc.
          have not yet been determined.
          I will continue to consider whether, in the case where a distribution is possible, a
          distribution will be made by way of distributing BTC.


     2.     Provision of Other Necessary Information on Website

          Since an extremely large number of creditors exist worldwide in this case, as much
          as possible, I plan to disclose information, etc., that are necessary for creditors to be
          aware of regarding this case on the website that I manage (https://www.mtgox.com)
          from time to time.

                                                                                     End of document

   * This translation is prepared for reference purposes only.   The Japanese version is the original and
    if there is any discrepancy between the Japanese original and this translation, the Japanese original
    supersedes and governs.




                                                     5
                                       Case 14-31229-sgj15                     Doc 174-7 Filed 02/28/17 Entered 02/28/17 17:37:17                                          Desc
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                                                                                               [Translation]
[Case Number:] Tokyo District Court 2014 (fu) No. 3830
Bankrupt Entity: MtGox Co., Ltd.
Bankruptcy Trustee: Nobuaki Kobayashi, Attorney-at-law
                                                                                                     List of Assets
                                                                                                                                    (As of April 24, 2014, the date of the order of commencement of bankruptcy proceedings)
Assets                                                                                                                                                                                                             (In JPY)
                                                                                                     Appraised amount
                                                                                  Book value
No. Item                                                                                         (amount incorporated into                                                Remarks
                                                                                     *1
                                                                                                  the bankruptcy estate)*2
 1 Cash and deposits                                                                   1,336,251                  1,359,603
   Cash                                                                                        0                           0
                                                                                                                              The account has been closed, and the cash in the account has already been transferred into the
     Mizuho Bank, Shibuya Branch, Ordinary deposit account No.1457705                    120,000                      152,602
                                                                                                                              account of the trustee.
                                                                                                                              The account has been closed, and the cash in the account has already been transferred into the
     Mizuho Bank, Shibuya Branch, Ordinary deposit account No.1497669                            0                         47
                                                                                                                              account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                               Currency: USD; The account has been closed, and the cash in the account has already been
                                                                                                0                           4
     9110151                                                                                                                  transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                               Currency: GBP; The account has been closed, and the cash in the account has already been
                                                                                                0                           5
     9110186                                                                                                                  transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                               Currency: AUD; The account has been closed, and the cash in the account has already been
                                                                                                0                          97
     9110216                                                                                                                  transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                               Currency: NZD; The account has been closed, and the cash in the account has already been
                                                                                                0                           4
     9110267                                                                                                                  transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                               Currency: DKK; The account has been closed, and the cash in the account has already been
                                                                                               91                          87
     9110232                                                                                                                  transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                               Currency: HKD; The account has been closed, and the cash in the account has already been
                                                                                               28                          26
     9110275                                                                                                                  transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                               Currency: SGD; The account has been closed, and the cash in the account has already been
                                                                                               25                          25
     9110283                                                                                                                  transferred into the account of the trustee.
     Mizuho Bank, Shibuya Branch, Foreign currency ordinary deposit account No.                                               Currency: CHF; The account has been closed, and the cash in the account has already been
                                                                                               89                          87
     9110259                                                                                                                  transferred into the account of the trustee.
                                                                                                                              The account has been closed, and the cash in the account has already been transferred into the
     Yucho Bank, Shibuya Branch, Consolidated account No. 10170-48410711                       945                        945
                                                                                                                              account of the trustee.
                                                                                                                              The account has been closed, and the cash in the account has already been transferred into the
     Rakuten Bank, Second Sales Branch, Ordinary deposit account No. 7018261             279,457                      279,213
                                                                                                                              account of the trustee.
                                                                                                                              The account has been closed, and the cash in the account has already been transferred into the
     Japan Net Bank, Suzume Branch, Ordinary deposit account No.2559084                  596,168                      596,168
                                                                                                                              account of the trustee.
                                                                                                                              The account has been closed, and the cash in the account has already been transferred into the
     Yachiyo Bank, Shibuya Branch, Ordinary deposit account No. 0623839                          7                          7
                                                                                                                              account of the trustee.
     Yachiyo Bank, Shibuya Branch, Foreign currency ordinary deposit account                                                  Currency: AUD; The account has been closed, and the cash in the account has already been
                                                                                          95,357                       93,468
     No. 0623949                                                                                                              transferred into the account of the trustee.
     Yachiyo Bank, Shibuya Branch, Foreign currency ordinary deposit accountNo.                                               Currency: EUR; The account has been closed, and the cash in the account has already been
                                                                                         141,608                      136,041
     0623950                                                                                                                  transferred into the account of the trustee.
     Yachiyo Bank, Shibuya Branch, Foreign currency ordinary deposit account                                                  Currency: USD; The account has been closed, and the cash in the account has already been
                                                                                         102,476                      100,677
     No. 0623938                                                                                                              transferred into the account of the trustee.
                                                                                                                              The account has been closed, and the cash in the account has already been transferred into the
     Resona Bank, Shibuya Branch, Ordinary deposit account No.2973992                           0                         100
                                                                                                                              account of the trustee.




                                                                                                          1/3
                                        Case 14-31229-sgj15                  Doc 174-7 Filed 02/28/17 Entered 02/28/17 17:37:17                                           Desc
                                                                                   Exhibit G Appraised
                                                                                Book value
                                                                                              Page amount
                                                                                                       14 of 17
No. Item                                                                                          (amount incorporated into                                              Remarks
                                                                                   *1
                                                                                                   the bankruptcy estate)*2
                                                                                                                            The appraised amount is based on the amount actually converted into cash on or prior to
 2 Short-term loans                                                               1,307,423,210                  46,686,362
                                                                                                                            September 27, 2016.
                                                                                                                            This company is an affiliated company of the bankrupt, and an order of commencement of
     TIBANNE Co., Ltd.                                                             772,791,001                            0 bankruptcy proceedings for such company was issued on January 30, 2015. The filing of proof
                                                                                                                            of claims has already been completed.
                                                                                                                            This company is an affiliated company of the bankrupt. Collected under the claim assignment
     K.K. Shade3D                                                                  338,139,321                   46,686,362
                                                                                                                            agreement on September 29, 2015.
                                                                                                                            This company is an affiliated company of the bankrupt, and an order of commencement of
     K.K. Bitcoin.Café                                                              60,000,000                            0 bankruptcy proceedings for such company was issued on June 18, 2014. The filing of proof of
                                                                                                                            claims has already been completed.
                                                                                                                              This person is the representative of the bankrupt, and an order of commencement of bankruptcy
     Robert Marie Mark Karpeles                                                    136,175,781                            0
                                                                                                                              proceedings for such person was issued on November 10, 2015.
                                                                                                                            This company is an affiliated company of the bankrupt. Repayment of the loan is currently
     MTGOX HongKong                                                                     317,107                           0
                                                                                                                            being requested.
                                                                                                                            The appraised amount is based on the amount actually converted into cash on or prior to
 3 Accounts receivable                                                                  925,826                     331,600
                                                                                                                            September 27, 2016.
                                                                                                                            This company is the parent company of the bankrupt. The accounts receivable against this
     TIBANNE Co., Ltd                                                                   562,026                           0
                                                                                                                            company comprise of accrued interest on the loan.
     Shibuya Tax Office (Interim payment of corporation tax)                            242,200                     243,900 Tax refund was paid into the account of the trustee on July 24, 2014.
   Shibuya Metropolitan Taxation Office (Interim payment of enterprise tax and
                                                                                         80,800                      80,800 Tax refund was paid into the account of the trustee on July 29, 2014.
   special local corporation tax)
   Shibuya Metropolitan Taxation Office (Interim payment of inhabitants tax on                                             Upon balancing by taxation on a per capita basis, a tax refund was paid into the account of the
                                                                                         40,800                       6,900
   corporation tax basis)                                                                                                  trustee on July 29, 2014.
 4 Provisional payment (to the Tokyo District Court)                                 2,000,000                   2,000,000 Collected on June 4, 2014
                                                                                                                           The appraised amount is based on the amount actually converted into cash on or prior to
 5 Deposits paid                                                                   783,948,565                 862,720,420
                                                                                                                           September 27, 2016.
     Counsel for applicant                                                         241,459,630                 231,557,866 The money deposited was already succeeded at the appraised amount on May 12, 2014.
     Counsel for applicant                                                         509,510,685                 500,698,397 The money deposited was already succeeded at the appraised amount on May 9, 2014.
     Counsel for applicant                                                          32,978,250                   32,977,386 The money deposited was already succeeded at the appraised amount on May 8, 2014.
     Others                                                                                  0                   97,486,771 Collected on January 7, 2015
                                                                                                                              The appraised amount is based on the amount actually converted into cash on or prior to
 6 Money deposited with other companies                                           1,693,444,088                706,433,012
                                                                                                                              September 27, 2016.
     CoinLab                                                                       500,000,000                           0 Pending litigation
                                                                                                                           Partly collected. As for the residual amount, the trustee is collecting and/or reviewing the
     Others                                                                       1,193,444,088                706,433,012
                                                                                                                           collectibility.
                                                                                                                           The appraised amount is based on the amount actually converted into cash on or prior to
 7 Tools, furniture and fixtures                                                   104,557,699                  32,582,300
                                                                                                                           September 27, 2016.
     DELL Server                                                                     5,649,000
                                                                                                                              Sold on November 27, 2014. The consideration has already been transferred into the account of
     Violin Server                                                                  90,623,142                   32,382,300
                                                                                                                              the trustee.
     Apple Japan; 28 laptop computers                                                5,383,438
                                                                                                                              Sold on June 8, 2015. The consideration has already been transferred into the account of the
     Chair                                                                           2,902,119                      200,000
                                                                                                                              trustee.




                                                                                                       2/3
                                            Case 14-31229-sgj15                        Doc 174-7 Filed 02/28/17 Entered 02/28/17 17:37:17                                                      Desc
                                                                                             Exhibit G Appraised
                                                                                          Book value
                                                                                                        Page amount
                                                                                                                 15 of 17
No. Item                                                                                                           (amount incorporated into                                                  Remarks
                                                                                                   *1
                                                                                                                    the bankruptcy estate)*2
                                                                                                                                                  The appraised amount is based on the amount actually converted into cash on or prior to
 8 Security deposit                                                                                     700,000                               0
                                                                                                                                                  September 27, 2016.
     The Executive Center Japan K.K.                                                                    540,000                               0 The contract has been cancelled. Irrecoverable

     The Executive Center Japan K.K. (Security deposit for parking spaces）                              160,000                               0 The contract has been cancelled. Irrecoverable

                                                                                                                                                  This is a refund of the money for release from provisional seizure deposited by the bankrupt and
 9 Guaranty money deposited                                                                          10,586,875                    10,587,933
                                                                                                                                                  has already been collected.
                                                                                                                                                  The appraised amount is based on the amount actually converted into cash on or prior to
10 Development expenses                                                                              85,875,146                               0
                                                                                                                                                  September 27, 2016.

     Applico Inc.                                                                                    33,453,375                               0 No value

     Internet Escrow Services                                                                         3,073,459                               0 No value

     Mandalah KK                                                                                     31,993,500                               0 No value

     The Phuse Inc.                                                                                   4,572,513                               0 No value

                                                                                                                                              This development expense is currently under investigation, but may be an expense spent in the
     Winsoft Technology Solutions Inc.                                                               12,782,299                               0
                                                                                                                                              past and may have no value.
11 Interest income                                                                                             0                      356,617 Interest on deposit
   Prepayment for filing bankruptcy                                                                            0                   18,063,297
                                                                                                                                              Return of prepayment for filing bankruptcy against Robert Marie Mark Karpeles (including
     Prepayment for filing bankruptcy against Robert Marie Mark Karpeles                                       0                    3,026,000
                                                                                                                                              return of postal stamps, etc.)
                                                                                                                                                  Return of prepayment for filing bankruptcy against TIBANNE (including return of postal stamps,
12 Prepayment for filing bankruptcy against TIBANNE Co., Ltd.                                                  0                   15,037,297
                                                                                                                                                  etc.)
                                                                        Total assets *3          3,990,797,660                  1,681,121,144


Liabilities
No. Item                                                                                       Book value             Reported amount                                                         Remarks
     Claims on the estate and preferred bankruptcy claims (Taxes and other public                                   The amount has not yet
 1                                                                                                   54,374,152
     charges)                                                                                                         been determined.
                                                                                                                    The amount has not yet
     Claims on the estate (Other expenses)                                                           19,253,642
                                                                                                                      been determined.

 2 General bankruptcy claims (the “Bankruptcy Claims Related to Exchange”)                       8,256,092,214          263,519,268,303,371

     General bankruptcy claims (Transacting parties, etc.)                                         402,470,293                13,119,083,453
                                                                                                                    The amount has not yet
                                                                    Total liabilities *3         8,732,190,301
                                                                                                                      been determined.

*1 The amounts stated in the "book value" column are, as a rule, entered by referring to the book value as of April 24, 2014, and such amounts do not correspond to their respective amounts of proceeds from their conversion into cash.
*2 As a rule, the "appraised amount (amount incorporated into the bankruptcy estate)" shows the amount actually collected on or prior to September 27, 2016.
*3 The bitcoins held by the bankrupt entity are not included in the assets set forth above. In addition, the amount of bitcoins managed by the bankruptcy estate as of September 21, 2016 is 202,185.35450043 BTC.
*4 This list has been prepared based on the investigation results at the present point in time, and assets or liabilities not included in this list may be discovered as a result of further investigation.
* This translation is prepared for reference purpose only. The Japanese version is the original and if there is any discrepancy between the Japanese original and this translation, the Japanese original supersedes and governs.




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                                                             [Translation]

                                              Income and Expenditure Statement
                                                           From April 24, 2014
                                                       Through September 27, 2016
[Case Number:] Tokyo District Court 2014 (fu ) No. 3830
Bankrupt Entity: MtGox Co., Ltd.
Bankruptcy Trustee: Nobuaki Kobayashi, Attorney-at-law
                                                                                                                                  (In JPY)

                             Income                                                             Expenditure


  No.                  Abstract                    Amount          No.                       Abstract                     Amount

        Cash and deposits succeeded from the
   1                                               766,593,252      1    Office expenses                                    30,191,242
        bankrupt
                                                                         Expenses for notice of commencement of
   2    Deposits succeeded from the court             2,000,000     2                                                         6,890,292
                                                                         bankruptcy proceedings to bankruptcy

   3    Collection of monies deposited              10,587,933      3    Supplies expenses                                    8,840,785


   4    Interest income                                356,617      4    Professional fees                                 275,530,917


   5    Tax refund                                     331,600      5    Outsourcing fees                                  125,418,228

        Collection of money deposited with                               Settlement Money (Expense for terminating
   6                                               706,433,012      6                                                         6,310,433
        other companies                                                  telecommunication related agreement)
        Money provided as assistance by
        Payward under the contract for
   7                                                32,382,300      7    Transportation expenses                                  298,930
        providing assistance and others in
        bankruptcy proceedings
                                                                         Rent and deposit for the bankruptcy trustee's
   8    Collection of deposits paid                 97,486,771      8                                                         5,260,540
                                                                         office
                                                                         Tax and public dues (withholding tax of
   9    Proceeds from sale of fixtures                 200,000      9                                                       29,010,413
                                                                         trustee's fee, etc.)
        Price for assignment of loan to K.K.
  10                                                46,686,362      10   Call center expense                                  6,335,718
        Shade3D
        Return of prepayment for filing
        bankruptcy against Robert Marie                                  Prepayment for filing bankruptcy against
  11                                                 3,026,000      11                                                      15,000,000
        Mark Karpeles (including return of                               TIBANNE
        postal stamps, etc.)
        Return of prepayment for filing
        bankruptcy against TIBANNE
  12                                                15,037,297      12   Trustee's fee                                     114,550,633
        (including return of postal stamps,
        etc.)
                                                                         Prepayment for filing bankruptcy against
                                                                    13                                                        3,000,000
                                                                         Robert Marie Mark Karpeles

            Total                                 1,681,121,144              Total                                         626,638,131




                                                                                             Balance                      1,054,483,013




* This translation is prepared for reference purpose only. The Japanese version is the original and if there is any discrepancy
between the Japanese original and this translation, the Japanese original supersedes and governs.
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                                                     [Translation]

[Case Number:] Tokyo District Court 2014 (fu ) No. 3830
Bankrupt Entity: MtGox Co., Ltd.
Bankruptcy Trustee: Nobuaki Kobayashi, Attorney-at-law
(As of April 24, 2014, the date of the order of commencement of bankruptcy proceedings)

                                       [Bankruptcy] Balance Sheet
                                                                                                                  In JPY
                                        Appraised amount
                                      (amount incorporated
               Item                                                        Item                       Filling amount
                                       into the bankruptcy
                                             estate)*1
                                                             Claims on the estate and
Cash and deposits                            1,359,603                                        *3              73,627,794
                                                             preferred bankruptcy claims

Short-term loans                            46,686,362       General bankruptcy claims             263,532,387,386,824

Accounts receivable                            331,600

Provisional payment                          2,000,000

Deposits paid                              862,720,420

Money deposited with other
                                           706,433,012
companies

Tools, furniture and fixtures               32,582,300

Security deposit                                      0

Guaranty money deposited                    10,587,933

Development expenses                                  0

Interest income                                356,617

Prepayment for filing bankruptcy            18,063,297

Total assets                     *2      1,681,121,144       Total liabilities                     263,532,461,014,618


*1 The "appraised amount (amount incorporated into the bankruptcy estate)" shows the amount actually collected on
or prior to September 27, 2016.
*2 The bitcoins held by the bankrupt entity are not included in the assets set forth above.In addition, the amount of
bitcoins managed by the bankruptcy estate as of September 21, 2016 is 202,185.35450043 BTC.

*3 The amounts of these liabilities are based on the book value of the bankrupt at the time of the order of
commencement of bankruptcy proceedings because requests for distribution have not yet been completed.
*4 This balance sheet has been prepared based on the investigation results at the present point in time, and assets or
liabilities not included in this balance sheet may be discovered as a result of further investigation.

* This translation is prepared for reference purpose only. The Japanese version is the original and if there is any
discrepancy between the Japanese original and this translation, the Japanese original supersedes and governs.
